         Case 19-03224         Doc 23      Filed 04/25/19 Entered 04/25/19 08:05:03                Desc NTC of
                                           Requiremt FinMgt Page 1 of 1
Form definmgt

                                      UNITED STATES BANKRUPTCY COURT
                                            Northern District of Illinois
                                                 Eastern Division
                                                 219 S Dearborn
                                                    7th Floor
                                                Chicago, IL 60604



In Re:
                                                                  Case No. 19−03224
Dan Valentine                                                     :
1324 Coolidge St.                                                 Chapter : 7
Sterling, CO 80751                                                Judge :   Carol A. Doyle
SSN: xxx−xx−1994 EIN: N.A.
dba Camelot Computer Enterprises




                 NOTICE TO INDIVIDUAL DEBTORS IN CHAPTER 7 OR CHAPTER 11 CASES
                             OF REQUIRED DOCUMENT FOR DISCHARGE

      Unless an approved Personal Financial Management Course Provider has notified the Court that you have
completed the course, you must complete and file Certification About a Financial Management Course (Official Form
423) pursuant to Bankruptcy Rule 1007(b)(7). Please include the certificate number on Official Form 423 or attach
the certificate you received from the approved Personal Financial Management Course Provider.

    A list of "Approved Debtor Education Providers" is available at the U.S. Trustee's website at
www.justice.gov/ust/eo/bapcpa/ccde/index.htm.

         Official Form 423 is available at our website at www.ilnb.uscourts.gov/Forms/

      You must file Official Form 423 within 60 days after the first date set for the meeting of creditors under § 341.
If you do not file Official Form 423, your case will be closed without a discharge. You will still be liable for the debts
you owed before filing. If you subsequently file a Motion to Reopen, you must pay the reopening fee.

         If you are represented by an attorney, please contact your attorney for guidance.

         If you have any questions about submitting the form, please call 312−408−5000.



                                                              FOR THE COURT




Dated: April 25, 2019                                         Jeffrey P. Allsteadt, Clerk
                                                              United States Bankruptcy Court
